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Corporation Couns@a$€ 5216-CV-OO361-LEK-TWD l n

   

agent 73 Filed 03/21/17

Joseph W. Barry, III
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OFFICE OF THE CORPORATION COUNSEL

 

STEPHANIE A. MINER, MAYOR

March 21, 2017
***Sent via CM/ECF***
Honorable The'rese Wiley Dancks
U.S. District Court
100 S. Clinton Street
Syracuse, New York 13261

C t erine E. Carnrike
Page 1 O? omas R. Babilon
Meghan Price McLeeS Craner
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Arnanda R. HarringtOH

John C. Black, Jr.

Christina F`. DeJoseph
Kathryn M. Ryan

Ramona L. Rabcler

Erica T. Clarke

Re: James Deferio v. City of Syracuse, et al. (5:16-cv-00361-LEK-TWD)

Dear Judge Dancks:

We write to the Court regarding an issue that arose today in the deposition of Plaintiff in the

above-referenced matter. During the course of his testimony, Plaintiff removed from his personal
belongings a series of notecards that he asserted contain his hand-written notes and recollections
made shortly after key events described in his Complaint.

Not only do Defendants believe that these notecards should have been previously produced
by Plaintiff, but we note that Plaintiff exacerbated his failure to produce them by testifying with the
assistance of the contents of the notecards. Plaintiff then refused Defendants the opportunity to
inspect and copy the same cards. Plaintiff does not assert attorney-client privilege as to the contents
of those cards as he indicated that he had not communicated the existence of these notecards to his
attorneys, and were made prior to his retention of counsel relative to this action.

As Plaintiff s Counsel refuses to allow Defendants to inspect and/or photocopy these
notecards, we respectfully request that the Court order Plaintiff to produce the same for our
inspection and review, and that furthermore Plaintiff make no alterations or revisions to said notes,
as Plaintiff himself attempted to do after the close of today’s deposition.

Thank you for your review of this submission and request

Respectfully,

 
   

John A. Sickinger, Esq.
Senior Assistant Corporation Counsel
JAS/tml Federal Bar Roll No. 513 595

CC: Mark A. Mangini, Esq. (via CM/ECFFZing)
Nathan W. Kellum, Esq. (via CM/ECFfz`ling)
Todd M. Long, Esq. (vz`a CM/ECFleing)

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